 Case 1:15-cr-00173   Document 49   Filed 11/04/15   Page 1 of 4 PageID #: 120



                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT BLUEFIELD



UNITED STATES OF AMERICA

v.                                       CRIMINAL NO. 1:15-00173-02

LAWRENCE RAY BENNETT


                      MEMORANDUM OPINION AND ORDER


         In Bluefield, on November 3, 2015, came the defendant

Lawrence Ray Bennett, in person and by counsel, Debra A.

Kilgore, and came the United States by Miller Bushong, Assistant

United States Attorney, for the purpose of considering the

defendant=s plea of guilty to the single-count Indictment

charging him with conspiracy to distribute a quantity of

hydromorphone, in violation of 18 United States Code, Section

846.   Teresa F. King, Senior Probation Officer appeared on

behalf of the United States Probation Department.

         The court inquired of the defendant, addressing him

personally and by counsel, to determine the competency of the

defendant to proceed.     The court found the defendant competent.

         The court informed the defendant of the maximum

penalties to which he will be exposed by virtue of his plea of

guilty and defendant acknowledged his understanding of the same.
  Case 1:15-cr-00173   Document 49   Filed 11/04/15   Page 2 of 4 PageID #: 121



          The court next inquired as to the defendant=s plea and the

defendant responded that he intended to plead guilty.              The court

explained the range of penalties to which the defendant would be

exposed by virtue of his guilty plea.         The court also explained

the statute under which this action is prosecuted and the

elements which the United States would have had to prove, beyond

a reasonable doubt, had the matter been tried.            The Assistant

United States Attorney then stated the factual basis establishing

that the defendant committed the offense to which he was pleading

guilty.    The defendant admitted that the factual basis as stated

was substantially true.

          The court further informed the defendant, pursuant to the

requirements of Rule 11 of the Federal Rules of Criminal

Procedure, of the constitutional and other rights he would waive

by pleading guilty to single-count Indictment.            The court then

determined that the defendant understood those rights.              The court

advised the defendant that he could not withdraw his plea if he

was dissatisfied with the sentence rendered.

          The court inquired of the defendant personally as to

whether any threats or promises had been made to him to induce

him to plead, whether any predictions were made regarding the

sentence he might receive, and whether he had any second thoughts



                                      2
  Case 1:15-cr-00173   Document 49   Filed 11/04/15    Page 3 of 4 PageID #: 122



about entering a plea of guilty, to which questions the defendant

responded in the negative.

         Based upon the defendant=s plea of guilty, as well as his

factual admission of guilt, the court found that there existed a

factual and legal basis for the defendant=s plea of guilty.                Based

upon the United States= proffer of evidence against the defendant,

the court found that there also existed an independent factual

basis for the defendant=s plea of guilty.             The court further found

that the defendant tendered his plea of guilty voluntarily and

with a full understanding and awareness of the constitutional and

other rights which he gives up by pleading guilty, and with an

awareness of what the United States would have to prove against

him if the case went to trial.       The court further found that the

defendant had an appreciation of the consequences of his plea and

accepted the defendant=s plea of guilty.

         Pursuant to Sentencing Guideline ' 6B1.1(c), the court

deferred an adjudication of guilt pending receipt of the

presentence investigation report.        Accordingly, the court

adjudges and the defendant now stands provisionally guilty of the

single-count Indictment.

         The court scheduled the disposition of this matter for

February 17, 2016, at 10:30 a.m., in Bluefield.             The Probation



                                     3
  Case 1:15-cr-00173   Document 49   Filed 11/04/15    Page 4 of 4 PageID #: 123



Department is directed to conduct a presentence investigation in

this matter and to provide a report to this court.                Unless

otherwise directed by this court, the probation officer is not to

disclose the officer=s sentencing recommendation to anyone except

the court.

         The defendant was remanded to the custody of the United

States Marshal.

         The Clerk is directed to send a copy of this Memorandum

Opinion and Order to counsel of record, the United States Marshal

for the Southern District of West Virginia and the Probation

Office of this court.

         IT IS SO ORDERED this 4th day of November, 2015.

                                         ENTER:


                                         David A. Faber
                                         Senior United States District Judge




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